Case 3:20-cv-00951-DJN Document 20 Filed 12/31/20 Page 1 of 1 PagelD# 223
CIVIL NON-JURY TRIAL OR MOTION HEARING

 

 

MINUTE SHEET DATE: 12/31/2020
United States District Court Eastern District of Virginia - Richmond Division
Senator Bill DeSteph Case No. 3:20CV00951 (DJN)

Ws Judge: Novak
Benatar Mcanie EL Loeke, etal Court Reporter: Tracy Stroh, OCR

 

 

 

 

 

MATTER COMES ON FOR: ( ) BENCH TRIAL( ) MOTION HEARING (X) OTHER:
APPEARANCES: Parties by (x) with( _) counsel ProSe(_)

EVIDENTIARY HEARING:

 

 

TRIAL PROCEEDINGS:
WITNESSES EXCLUDED ON MOTION OF: PLAINTIFF(S)(_) | DEFENDANT(S)(__ ) Court ( ya
OPENING STATEMENTS MADE (_ ) OPENING WAIVED (_ )

PLAINTIFF(S) ADDUCED EVIDENCE (A RESTED (_) MOTION (\) Sty he - DENIED
DEFENDANT(S) ADDUCED EVIDENCE aie RESTED( )MOTION(_ )

REBUTTAL EVIDENCE ADDUCED ( ) SUR-REBUTTAL EVIDENCE ADDUCED (_ )
EVIDENCE CONCLUDED (_ ) ARGUMENTS OF COUNSEL HEARD (__ )

COURT FOUND IN FAVOR OF PLAINTIFF(S) (|) © MONETARY AWARD $

COURT FOUND IN FAVOR OF DEFENDANT(S) (_ )

 

CLERK TO ENTER JUDGMENT ON DECISION( ) TRIAL EXHIBITS RETURNED TO COUNSEL (_)

 

 

CASE CONTINUED UNTIL AT .M. FOR
ADDITIONAL NOTATIONS: ’
ADER’S
Arguments of counsel heard. Findings made by the Court. .

 

STIPULATED EXHIBITS — PITY’S txchibiTS 1-5 Ramitted pets Exniat TL, &
b-% AOMITIED- Judicial Notics token as to ‘Exhibits “HB. DES Exhib
2-struck. Court addressed réesolug7on wid fuling: Porties have

Qn agrecd upor resolution. Status telephone ca| let for Jan.
FT at |}ooam,

 

Counsel for Plaintiff(s): Timothy V. Anderson

 

Counsel for Defendant(s): Samuel T. Towell, Blaire H. O’Brien and Jacqueline C. Hedblom

SET: 10:00 BEGAN: ENDED 12: 06 Time in Court: Q:60
10:00) VL10, 2:20, 3:59 bei3 i038
RECESSES: wooR- \2:10, |113- 2:49

41D, :
Hot 112 [5:30
